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                                                                                                                                          August 1, 2023
                     Honorable Sanket J. Bulsara, U.S.M.J.
                     United States District Court
                     Eastern District of New York
                     225 Cadman Plaza East
                     Brooklyn, New York 11201
                     Re:                   Biofer S.p.A. v. Vifor (International) AG., No. 1:22-cv-02180-AMD-SJB (E.D.N.Y.)

                     Dear Judge Bulsara:

                             Plaintiff Biofer S.p.A. (“Biofer” or “Plaintiff”) submits the following summary of relevant
                     claim construction deposition testimony excerpts from Biofer’s experts: (i) Dr. Allan S. Myerson,
                     Ph.D., Professor of Chemical Engineering at Massachusetts Institute of Technology, regarding the
                     term “pH between 7.0 and 9.0” (Ex. A); and (ii) Dr. Paul J. Chirik, Ph.D., Professor of Chemistry
                     at Princeton University, regarding the term, “stoichiometric quantities.” (Ex. B.)

                     I.                    Deposition of Allan S. Myerson, Ph.D. (July 27, 2023) – “pH between 7.0 and 9.0”

                            The deposition testimony of Dr. Myerson confirms and provides further support for
                     Biofer’s proposed construction of the disputed claim limitation, “pH between 7.0 and 9.0.”

                                A. The Claim Language Does Not Support Reading in an Unrecited “Maintained”
                                   Limitation:

                              First, Dr. Myerson testified why a person of ordinary skill in the art (“POSA”) would not
                     read Vifor’s proposed unrecited requirement that the oxidation reaction must be “maintained” in
                     the pH interval separating 7.0 and 9.0 for the entire duration of the oxidation reaction into the
                     claims, including (i) because the word “maintained” is not recited in the claim (Ex. A at 20:2-7),
                     (ii) the claim is an open-ended “comprising” claim that allows for additional reaction steps (id. at
                     39:2-5), and (iii) because other dependent claims 10 and 21 expressly require pH “control[]” in
                     contrast to claim 1 (id. at 47:10-48:16).1

                                B. Patent Specification and Examples – pH is Not Required to be “Maintained” in Claimed
                                   Range:


                     1
                       Dr. Myerson testified how the ’320 patent treats “controlled” and “maintained” synonymously.
                     (Id.)

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                Second, Dr. Myerson also testified that neither the broader teachings of the specification,
        nor Example 5 (which uses a specific maltodextrin covered by the claims) requires that pH be
        “maintained” in the interval separating 7.0 and 9.0. To the contrary, Dr. Myerson explained that
        the specification (and Example 5) consistently teaches a POSA to maintain the oxidation reaction
        within the broader pH range of “5.0 to 11.0” and describes “7.0 to 9.0” as the preferred range
        within the broader “fixed” range:

                 Q. In your opinion in this paragraph, you're expressing that the “important to
                 maintain the reaction" applies only to the phrase "between 5.0 and 12.0”; is that
                 right?
                 A. Of course everywhere in the ’320 patent, they used the range of some places
                 5 to 12 but other places 5 to 11, and a preferred range of 7 to 9. So, clearly, the
                 inventors were indicating exactly what they say, important to maintain the pH
                 range between the larger range, with a preferable narrower range. I mean,
                 that's clearly what the inventor is saying throughout the patent.
                                               *       *      *
                 Q. All of the examples in the patent -- and you can look at it -- where an oxidation
                 reaction is occurring, that oxidation reaction in the example says, “maintained
                 between 7.0 and 9.0,” correct?
                 A. That’s incorrect, actually.
                 Q. Which one is different?
                 A. The one we already talked about, the Maltodextrin [Example 5].

        (Ex. A at 90:3-16; 49:1-21; see also 49:22-51:19; 90:17-91:2.) In explaining how the patent
        specification and Example 5 teach to maintain pH during oxidation in the fixed range of 5 to 11
        (or 12) (id., at, e.g., 24:1-25:2)—and not between 7 to 9—Dr. Myerson also explained multiple
        times how the other examples merely “exemplify a particular way of practicing the invention”
        using the preferred range. (See, e.g., id. at 92:11-94:16; 97:5-98:17 (“… [t]he specification never
        says that you must maintain between 7 and 9”).)2

            C. The Scope and Meaning of the Claimed pH Values (“7.0” and “9.0”) Should Account
               for Error Consistent With the Knowledge of a POSA and the Intrinsic Record:

               Third, Dr. Myerson also testified that a POSA would understand all pH measurement
        values have an error/tolerance range, and especially measurements during a chemical reaction
        involving temperature changes as in the claimed oxidation:

                 Q. If some of the oxidation in your opinion can occur outside of 7 to 9, why does 7
                 need a plus or minus .2 tolerance level?


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          See also id. at 26:6-28:19; 35:6-36:25 (“…. So your position – your side’s position in this is that
        that the entire oxidation has to take place between 7 and 9 with no excursions outside of 7 to 9,
        which, according -- as I write in my -- one of my declarations, which would indicate if you had a
        small excursion during the process, it wouldn’t infringe the claim. That's not what the claim says,
        and my opinion is that if you do oxidation between 7 and 9, you infringe the claim. That is the core
        of what we’re discussing. So some of it could be a 10, but some of it has to be between 7 and 9.”)

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                 A Well, that’s a completely different issue. 7 to 9 -- I'm construing the words
                 “7 to 9” -- any physical property measurement has an error in it, irregardless
                 if you put the error values in the number. So 7 has to mean 7 plus or minus
                 something, and using the specification, it appears to me -- and the Marchi
                 declaration -- that the minimum -- the minimum error range in the pH
                 measurement is plus or minus .2. So 7.0 means 7.0 plus or minus .2.
                                                *        *      *
                 Q. If a person of skill in the art -- let me say if persons of ordinary skill in the art
                 always know that there is some level of tolerance with respect to a pH value -- when
                 you measure a pH value --
                 A. Yes.
                 Q. -- why would the patent specification need to identify tolerance levels for the
                 pH measurements?
                 A. Because they are talking here about the tolerance levels during reactions.
                 This is not the tolerance level simply measuring a static pH. And they are
                 informing the POSA, as does the Marchi declaration, what they consider the
                 tolerance levels in measuring pH during a chemical reaction with -- which
                 involves temperature change.
                                                *        *      *
                 Q. In using a pH meter, my pH meter in my lab might have a tolerance level that is
                 different than the pH meter in your lab, correct?
                 A. That’s possible, but, actually, you’re leaving out part of this because it
                 depends on if you're making a static or dynamic measurement, okay. If you’re
                 measuring the pH of something that’s in equilibrium and not changing, as
                 opposed to this pH measurement, which is quite complicated, you’re
                 measuring the pH during a chemical reaction where both the composition is
                 changing, you have a pH controller that is trying to control the pH, and you
                 have temperature changing, all of which -- and you have mixing issues, all of
                 which makes the uncertainty of the pH, irregardless of the calibration, higher.

        (Ex. A at 37:1-13; 108:23-109:14; 75:22-76:14; see also 73:23-74:25 (explaining “you always
        have to take into account uncertainty in any physical property measurement”)).3 Finally, Dr.
        Myerson also explained why the pH tolerance was not “built into” the claimed range, how the
        potentially lower tolerances of pH meters used in static lab experiments are not applicable to the
        claimed invention, and how the word “between” in the claims does not remove tolerances
        associated with the claimed pH values. (Id. at 76:15-78:9; 79:16-80:24; 80:25-83:5.)

        II.      Deposition of Paul J. Chirik, Ph.D. – “stoichiometric quantities”

              A. Dr. Chirik’s Construction is Based on the Patent Examples and Stands Unrebutted

               At deposition, Dr. Chirik explained “Claim 1 doesn’t mention molar ratios” and how
        Vifor’s position improperly “conflate[s] stoichiometric quantity and molar ratio.” (Ex. B at 26:3,

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          Dr. Myerson confirmed at his deposition that both the patent’s specification and file history (e.g.,
        the inventor Marchi Declaration) support his opinion that a POSA would interpret the claimed pH
        values with a +/- 0.2 tolerance. (See Ex. A at 108:3-9; see also, e.g., 83:12-25.)

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        29:18-20.) Dr. Chirik explained how a POSA would look to the patent examples4 to understand
        how to determine stoichiometric amounts of hypochlorite based on the sugar at issue:

                 Q. Okay. So, in your opinion, the phrase “stoichiometric quantities” in claim 1
                 doesn't tell a POSA anything about the mole-to-mole ratio for sodium hypochlorite
                 to end aldehydes of the sugars; is that correct?
                 A No, it’s not.
                 Q Okay. Then what is correct?
                 A You said it doesn’t tell a POSA anything.
                 Q What does it tell a POSA?
                 A It tells a POSA the hypothetical amount you would add to do the oxidation.
                 Q And what is that hypothetical amount?
                 A You calculate based on the number of aldehyde end groups you believe is in
                 the sample and you add an appropriate amount of oxidant. The examples in
                 the patent teach you how to do that.

        (Ex. A at 29:21-30:17; see also 24:7-15 (explaining the amount of hypochlorite “depends on what
        sugar you’re trying to oxidize”). Importantly, Dr. Chirik further explained why Vifor’s proposed
        exact 1:1 molar ratio would not apply to dextrins and dextrans (polysaccharides which are the
        subject of disputed Claim 1):

                 Q. Okay. So how would you calculate the number of aldehyde end groups in a
                 sample of a dextrin?
                 A. So the challenge here is that dextrins and dextrans are heterogeneous
                 materials. So they are not monodisperse. So they are not a single chemical
                 entity. And so what you need to do, then, is approximate, using the best data
                 that you have, to figure out how many aldehyde end groups you have. In the
                 case of a dextrin, you would most likely use the DE.
                 Q. How would you calculate the number of end aldehyde groups you believe were
                 in a sample of a dextran?
                 A. Yeah. You would take it based on the average molecular weight. If you had
                 molecular weight information, you would then be able to calculate and
                 estimate how many chain ends you have, and then you would calculate it based
                 on that.

        (Ex. B at 31:15-32:20; see also 60:13-61:13 (explaining how dextrose equivalent is not typically
        used for dextrans because of its structure.) Dr. Chirik explained that any DE value “would have an
        error associated with it” and would be “your starting point” for determining the appropriate
        quantity of sodium hypochlorite. (Id. at 64:18-65:6.) Materials like maltodextrin are “inherently
        heterogenous material” and thus “the DE is an approximation” of the molecular weight. (Id. at
        68:23-69:18; see also 70:15-71:3.) A POSA would look to the Examples for guidance on specific
        sugars which discloses the amounts of reagents used, which teaches a POSA how to execute the

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         It is undisputed that Vifor calculated the molar ratios of the patent examples and argued to the
        European Patent Office that “stoichiometric quantities” did not require a 1:1 molar ratio. (See DE
        67 at 8-10.)

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        chemistry “[e]xactly how the examples do it.” (Id. at 98:15-19; see also 48:9-49:11; 51:20-52:21;
        54:12-56:21.)

                Finally, Dr. Chirik further testified about how Vifor’s proposed “1:1 molar ratio”
        construction is specifically inconsistent with the 2:1 molar ratio that is used in Examples 6 and 7.
        (Ex. B at 81:8-15, 83:1-9, 86:4-88:4 (“As you can see in Example 7, double the moles were used….
        [S]toichiometric quantities means …. the amount of reagents you need to get to optimize the
        product of the reaction.”), 89:17-22, 91:10-92:10.)5 Indeed, in his deposition testimony, Dr. Chirik
        reiterated his unrebutted opinion that the patent teaches and clearly spells out to a POSA that the
        stoichiometric quantities used in all of the Examples are not 1:1 ratios. (Id. at 100:12-101:21,
        134:22-136:19 (“And you can see in my report [DE 66-6 at ¶¶ 9-14] in the table that’s provided,
        that Vifor provided to the EPO, that there’s still deviation.) Defendant’s counsel studiously
        avoided asking any follow-up questions of Dr. Chirik at his deposition concerning the unrebutted
        evidence of Vifor’s own calculations of the “stoichiometric quantities” employed in the patent
        examples, including how they are directly at-odds with Defendant’s current proposed construction
        of a “1:1 molar ratio” because those unrebutted calculations show a 1:1 molar ratio was not used
        in the patent examples. (See DE 66-6 at ¶¶9-14.)6

        Sincerely yours,

        /s/ Jonathan D. Ball

        Jonathan D. Ball, Ph.D., Esq.
        Shareholder




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          Dr. Chirik also explained why Vifor’s reliance on the Marchi Declaration’s reference to
        “somewhat ‘under stoichiometric’” is misplaced. (Ex. B at, e.g., 115:24-119:10, 123:7-126:16.)
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          Vifor’s expert, Dr. Winkler, failed to address Dr. Chirik’s opinions based on Vifor’s calculations,
        or the 2:1 molar ratio of Examples 6 and 7.

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